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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION


 UNITED STATES OF AMERICA

 v.                                                  Case No. 5:24-cr-138-TPB-PRL

 ROBERT H. RIVERNIDER,

       Defendant.
 ________________________________/

             ORDER REGARDING SELF-REPRESENTATION AND
                ROLE AND DUTIES OF STANDBY COUNSEL

       On July 9, 2025, the Court held a hearing to address Defendant’s

 representation. (Doc. 29). The Court conducted an in-depth and detailed inquiry to

 determine whether Defendant wished to and was competent to waive counsel and

 represent himself. See Faretta v. California, 422 U.S. 806 (1975). Defendant

 confirmed that he would like to proceed pro se and did not intend to hire new

 counsel at this time. The Court thoroughly explained the dangers and

 disadvantages of self-representation. Based on his responses to the Court’s

 questions, the Court found that Defendant knowingly, voluntarily, and intelligently

 made the decision to represent himself. The Court then appointed Mr. Joshua

 Woodard of the Federal Defender’s Office as standby counsel.

       For clarity, the Court again explains the purpose of standby counsel. Mr.

 Woodard is not full-fledged counsel, and he will not have any role or bear any

 responsibility in the course of defense while Defendant is proceeding pro se. Mr.

 Woodard’s role is as an advisor – he may answer Defendant’s questions and provide


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 other limited assistance, but he will not participate directly in any hearings or the

 trial in this case. Defendant is responsible for making all strategy and tactical

 decisions, and Defendant alone is responsible for the preparation and presentation

 of his case.

        Mr. Woodard may (1) consult with Defendant before and after court

 proceedings, and during breaks; (2) sit at counsel’s table with Defendant and

 provide “elbow advice” directly to Defendant during court proceedings; (3) help

 Defendant adhere to courtroom procedure and protocol; (4) serve as an intermediary

 between the Government and Defendant; and (5) where necessary, facilitate

 Defendant’s receipt of filings and other communications.

        Mr. Woodard may not (1) offer any unsolicited advice or assistance; (2) speak

 on behalf of Defendant outside of or during courtroom proceedings, except as an

 intermediary in communications between the Government and Defendant; or (3) file

 any pleadings, including motions, objections, or requests to charge the jury.

        However, Mr. Woodard must attend all hearings, review all discovery, and be

 prepared to step in as counsel without delay, if necessary. Should Defendant

 change his mind at any time and wish to be represented by counsel, including

 during a jury trial, Mr. Woodard shall be sufficiently prepared to take over the case

 without the need for a continuance. Should Defendant change his mind at any time

 and wish to be represented by counsel, the Court will not be continuing trial dates

 absent extraordinary circumstances that could not have been anticipated.




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         If Mr. Woodard or Defendant require further clarity about standby counsel’s

 role in this case, they should file a written motion in advance of trial. If Defendant

 wishes to seek aid from standby counsel beyond the permitted functions explained

 above, Defendant must file a motion informing the Court of the specific function

 requested and explaining why he cannot perform that function himself.

         The Court reiterates and emphasizes that Defendant represents himself in

 this case without counsel, and he must adhere to all applicable rules and

 procedures. It is up to Defendant whether he seeks or heeds the advice of standby

 counsel. Standby counsel is limited as set forth to maintain an orderly trial process,

 protect Defendant’s constitutional rights under the Sixth Amendment and Faretta,

 and preserve the dignity and decorum of the court.

         DONE and ORDERED in Chambers, in Ocala, Florida, this 9th day of July,

 2025.




                                              __________________________________________
                                              TOM BARBER
                                              UNITED STATES DISTRICT JUDGE




 Copies to:
         Defendant Robert Rivernider
         Joshua Woodard, Federal Defender’s Office
         William Hamilton, United States Attorney’s Office




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